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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS



Crawford
Plaintiff
v.                                                             3:22-cv-01935-X
                                                               Civil Action No.
Carlos Cruz, at al.
Defendant

        CERTIFICATE OF INTERESTED PERSONS',6&/2685(67$7(0(17
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Defendants Carlos Cruz, MagicStar Arrow Entertainment LLC and MagicStar Arrow Inc.



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None.




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

Carlos Cruz, MagicStar Arrow Entertainment LLC, MagicStar Arrow Inc., Christian Etienne,
Investors in whose shoes Receiver asserts claims.
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